    Case 1:12-cv-00386-RHB ECF No. 3, PageID.29 Filed 04/27/12 Page 1 of 8




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


ANTHONY SMITH, Individually and on behalf of all          )
others similarly situated,                                )
                                                          )
                        Plaintiff,                        )   Civil Action No. 1:12-cv-00386
                                                          )
                           v.                             )
                                                          )
X-RITE, INC., THOMAS J. VACCHIANO, JOHN E.                )
UTLEY, GIDEON ARGOV, BRADLEY J. COPPENS,                  )
DAVID A. ECKERT, COLIN M. FARMER, DANIEL                  )
M. FRIEDBERG, L. PETER FRIEDER, MARK D.                   )
WEISHAAR, DANAHER CORPORATION, and                        )
TERMESSOS ACQUISITION CORP.,                              )
                                                          )
                      Defendants.                         )
                                                          )
                                                          )
SHANNON STORM, On Behalf of Herself and All               )
Others Similarly Situated,                                )
                                                          )
                        Plaintiff,                        )   Civil Action No. 1:12-cv-00414
                                                          )
                           v.                             )
                                                          )
X-RITE, INC., THOMAS J. VACCHIANO, JOHN E.                )
UTLEY, GIDEON ARGOV, BRADLEY J. COPPENS,                  )
DAVID A. ECKERT, COLIN M. FARMER, DANIEL                  )
M. FRIEDBERG, L. PETER FRIEDER, MARK D.                   )
WEISHAAR, DANAHER CORPORATION, and                        )
TERMESSOS ACQUISITION CORP.,                              )
                                                          )
                      Defendants.                         )
                                                          )
                                                          )

          STIPULATION AND [PROPOSED] CASE MANAGEMENT ORDER
          CONSOLIDATING ACTIONS AND APPOINTING LEAD COUNSEL


       WHEREAS, on April 10, 2012, X-Rite, Inc. (“X-Rite” or the “Company”) announced

that it had entered into a definitive merger agreement with Danaher Corporation (“Danaher”) and
    Case 1:12-cv-00386-RHB ECF No. 3, PageID.30 Filed 04/27/12 Page 2 of 8




Termessos Acquisition Corp. (“Merger Sub”), which provides for a cash tender offer (the

“Tender Offer”) in which Danaher would acquire all of the Company’s outstanding stock for

$5.55 per share, to be followed by a merger of Merger Sub with and into the Company (the

“Proposed Transaction”); and

       WHEREAS, two actions were filed in this Court, challenging certain aspects of the

Tender Offer as follows:

       1.      Smith v. X-Rite, Inc., C.A. No. 1:12-cv-00386 (filed April 20, 2012);

       2.      Storm v. X-Rite, Inc., C.A. No. 1:12-cv-00414 (filed April 26, 2012);

       WHEREAS, the plaintiff in each actions filed in this Court have reached an agreement

(set forth below) regarding the consolidation of the actions (the “Consolidated Action”) and

appointment of lead plaintiff and lead counsel. It appearing that the above-captioned actions

involve the same subject matter, administration of justice would be best served by consolidating

the actions;

       WHEREAS, defendants have agreed to accept service of the Summons and Complaint in

the actions, and hereby waive any defense based on service of process;

       WHEREAS, defendants agree to consolidation of the actions and take no position on the

matter of designation of Interim Plaintiffs and Interim Plaintiffs’ Co-Lead Counsel;

       WHEREAS, in order to promote judicial economy and avoid duplication, the Court finds

that it would be appropriate to consolidate the actions;

       NOW, THEREFORE, it is hereby STIPULATED, AGREED, and SO ORDERED as

follows:




                                                 2
     Case 1:12-cv-00386-RHB ECF No. 3, PageID.31 Filed 04/27/12 Page 3 of 8




A.     CONSOLIDATION OF RELATED ACTIONS

       1.      The above captioned actions currently pending before this Court are consolidated

for pretrial purposes pursuant to Fed. R. Civ. P. 42(a). The consolidated cases shall be captioned

In re X-Rite Shareholder Litigation, C.A. No. 1:12-cv-00386 (the “Consolidated Action”).

       2.      This Case Management Order No. 1 for the consolidated actions (“Order”) shall

apply as specified to each related case that is subsequently filed in this Court or transferred to

this Court and is consolidated with the Consolidated Action.

       3.      Hereafter, papers need only be filed in Civil Action No. 1:12-cv-00386.

       4.      The caption of the Consolidation Action will be as follows:

IN RE X-RITE SHAREHOLDER LITIGATION             )                     Consolidated
                                                )                     C.A. No. 1:12-cv-00386
________________________________________________)
                                                )
This Document Relates To:                       )
                                                )
            All Actions                         )
________________________________________________)

       5.      Each and every action filed in or transferred to in this Court, relating to the

Proposed Transaction and involving questions of law or fact similar to those contained in the

Consolidated Action shall constitute a case related to the Consolidated Action and shall be

governed by the terms of this Order.

B.     ORGANIZATION OF PLAINTIFFS’ COUNSEL

       6.      Plaintiffs Anthony Smith and Shannon Storm will be Interim Co-Lead Plaintiffs.

       7.      The law firms of Brodsky & Smith, LLC and Faruqi & Faruqi, LLP will serve as

Interim Plaintiffs’ Co-Lead Counsel.

       8.      The law firm of Milberg LLP will serve as Interim Liaison Counsel.




                                                  3
    Case 1:12-cv-00386-RHB ECF No. 3, PageID.32 Filed 04/27/12 Page 4 of 8




       9.      All documents previously served and filed to date in any of these cases

consolidated herein are deemed part of the record in the Consolidated Action. The Consolidated

Amended Complaint to be filed by the Interim Co-Lead Plaintiffs in the action docketed at C.A.

No. 1:12-cv-00386 shall be deemed the operative complaint in the Consolidated Action.

Defendants need not answer or otherwise move in response to the complaints filed previously in

any of the other constituent actions.

       10.     Interim Plaintiffs’ Co-Lead Counsel must set policy for plaintiffs for the

prosecution of this litigation, delegate and monitor the work performed by plaintiffs’ attorneys to

ensure that there is no duplication of effort or unnecessary expense, coordinate on behalf of

plaintiffs the litigation and conduct of discovery proceedings, and provide supervision and

coordination of the activities of plaintiffs’ counsel.

       11.     Interim Plaintiffs’ Co-Lead Counsel must be responsible for coordinating all

activities and appearances on behalf of plaintiffs and for the dissemination of notices and orders

of this Court as well as for communications to and from this Court. No motion, request for

discovery, or other pre-trial or trial proceedings shall be initiated or filed by any plaintiffs except

through Interim Plaintiffs’ Co-Lead Counsel. Interim Plaintiffs’ Co-Lead Counsel shall further

be responsible for creating and maintaining a master service list of all parties and their respective

counsel.

       12.     This Court requests the assistance of counsel in calling to the attention of the

Clerk of this Court the filing or transfer of any case that might properly be consolidated as part of

the Consolidated Action.




                                                   4
    Case 1:12-cv-00386-RHB ECF No. 3, PageID.33 Filed 04/27/12 Page 5 of 8




        13.      When a case that arises out of or relates to the same subject matter as the

Consolidated Action is hereinafter filed in this Court or transferred from another court, the Clerk

of this Court shall:

              a. place a copy of this Order in the separate file for such action;

              b. mail, telecopy or send via electronic mail a copy of this Order to the attorneys for

                 the plaintiff(s) in the newly-filed or transferred case and to any new defendant(s)

                 in the newly-filed or transferred case; and

              c. make the appropriate entry in the docket for C.A. No. 1:12-cv-00386.

        14.      Each action that arises out of or relates to the same subject matter of the

Consolidated Action that has been or is subsequently filed in or transferred to this Court, shall be

consolidated with the Consolidated Action and this Order shall apply thereto, unless a party

objects to consolidation, or any provision of this Order. Any objection to this Order shall be

made within ten (10) days after the date upon which a copy of this Order is served on counsel for

any party, by filing an application for relief with the Court. Nothing in the foregoing shall be

construed as a waiver of any defendant’s right to object to consolidation of any previously filed

or transferred related action.

        15.      Filing of papers via the Court’s ECF system shall be deemed to satisfy the service

requirement as to all parties whose counsel receive ECF notices electronically. All attorneys of

record must register for ECF and must file an appearance through the ECF system. No service is

required on any party not registered for ECF. Service of any document which is not

electronically filed via ECF shall be made on plaintiffs by serving a copy of the paper by

overnight mail service, electronic mail, telecopy or hand delivery to Interim Plaintiffs’ Co-Lead

Counsel; if service is to be made on a defendant, such service can be made via serving a copy of



                                                    5
     Case 1:12-cv-00386-RHB ECF No. 3, PageID.34 Filed 04/27/12 Page 6 of 8




the paper by overnight mail service, electronic mail, telecopy or hand delivery on counsel for the

defendant.

C.     INITIAL SCHEDULE OF PROCEEDINGS

       16.     In light of the fact that (1) there exists similar litigation relating to the Proposed

Transaction currently pending in the Circuit Court for Kent County, Michigan, and (2) the parties

in the present, Consolidated Action are discussing the most efficient means for coordinating the

federal and Kent County actions, the parties shall advise the Court within fifteen (15) days as to

whether they intend to proceed with a Case Management Order in this Consolidated Action. .

       17.     Defendants need not answer, move or otherwise plead in response to the original

complaints.

Dated: April 27, 2012                                  STIPULATED TO BY:


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                                                       Interim Liaison Counsel for Plaintiffs
                                                       Anthony Smith and Shannon Storm


                                                       /s Evan J. Smith
                                                       Evan J. Smith
                                                       BRODSKY & SMITH, LLC

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Case 1:12-cv-00386-RHB ECF No. 3, PageID.35 Filed 04/27/12 Page 7 of 8




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                                      Counsel for Plaintiff Anthony Smith


                                      /s Juan E. Monteverde
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                                  7
   Case 1:12-cv-00386-RHB ECF No. 3, PageID.36 Filed 04/27/12 Page 8 of 8




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                                         Bradley J. Coppens, David A. Eckert, Colin
                                         M. Farmer, Daniel M. Friedberg, L. Peter
                                         Frieder, and Mark D. Weishaar


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                                         /s J. Christian Word___________________
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                                         Counsel for Danaher Corporation


      NOW, THEREFORE, IT IS HEREBY ORDERED:

                                         BY THE COURT:



Dated: ___________________, 2012         _____________________________

                                         United States District Judge




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